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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

 HILLTOP CHURCH OF THE NAZARENE, §
      Plaintiff,                 §
                                 §
 vs.                             §                         CIVIL ACTION NO. 6:21-CV-00322-JCB
                                 §
 CHURCH MUTUAL INSURANCE         §
 COMPANY                         §
      Defendant.                 §


      PLAINTIFF’S PROPOSED ORDER ON DEFENDANT’S MOTION IN LIMINE


        On this day came to be considered Defendant Church Mutual Insurance Company’s

 (“Defendant’s”) Motion in Limine. After considering the Motion, any responses and replies, and

 any argument of counsel, the Court rules as follows:

 1.     Defendant’s Limine No. 1: Any reference to settlement negotiations or discussions
        between Plaintiff and Church Mutual.

        Response: Plaintiff agrees to Defendant’s limine item number 1.

         Agreed: X
 2.     Defendant’s Limine No. 2: Any reference to a statement (or statements) made by Plaintiff,
        Church Mutual, or their respective counsel during settlement negotiations or discussions

        Response: Plaintiff agrees to Defendant’s limine item number 2.

         Agreed: X
 3.     Defendant’s Limine No. 3: Any mention that Church Mutual is (or was) involved in other
        lawsuits. This includes, but is not limited to, any reference to or allegation of damages
        sustained by persons not parties to this lawsuit, the results of any insurance claim submitted
        by persons other than Plaintiff, or other claims submitted by Plaintiff as a result of another
        claim or transaction with Church Mutual.

        Response: Defendant’s Motion is overly broad and would prevent Plaintiff from fully

 examining Defendant’s experts regarding their long-standing relationship with Defendant and their
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 bias in favor of Defendant. This motion would further bar experts from discussing storm damage

 suffered in the surrounding areas on the alleged date of the storm at issue here, which is probative

 and relevant to the fact issue of the date and severity of the storm. This motion is further overbroad

 and would prevent Plaintiff’s corporate representative from testifying as to his knowledge that this

 Defendant is actively denying similar claims against other Nazarene churches in Texas, which is

 evidence of Defendant’s bad faith in this case. Defendant’s motion should be denied.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 4.     Defendant’s Limine No. 4: To further instruct counsel for Plaintiff, Plaintiff’s witnesses
        and Plaintiff are not to mention, suggest, or place before the jury any propensity evidence
        of Church Mutual. This refers specifically to, but is not limited to, any mention of the
        conduct of the Church Mutual in the handling of other insurance claims.

        Response: Defendant’s Motion is overly broad and does not define “propensity” evidence.

 The Motion would prevent Plaintiff from fully examining Defendant’s adjusters and experts

 regarding how they have investigated and adjusted other claims, and how that differs from their

 handling of Plaintiff’s claim. This motion is further overbroad and would prevent Plaintiff’s

 corporate representative from testifying as to his knowledge that this Defendant is actively denying

 similar claims against other Nazarene churches in Texas, which is evidence of Defendant’s bad

 faith in this case. Defendant’s motion should be denied.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 5.     Defendant’s Limine No. 5: Any suggestion to the effect that a juror should place himself
        or herself in the position of Plaintiff in determining the amount of recovery Plaintiff should
        receive, if any; for example - “Which of you would trade places with the Plaintiff for any
        amount of money?” -- or words of similar effect. Brown v Parker Drilling Offshore Corp.,
        410 F.3d 166, 180 (5th Cir. 2005) (appeal to the jury to put themselves in plaintiff's place




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        was improper); Whitehead v Food Max of Mississippi, Inc., 163 F.3d 265, 278 (5th Cir.
        1998) (same).

        Response: Plaintiff agrees with Defendant’s limine item number 5 as limited to damages.

 However, as to liability the Fifth Circuit has long held that the “use of the Golden Rule argument

 is improper only in relation to damages. It is not improper when urged on the issue of ultimate

 liability.” Stokes v. Delcambre, 710 F.2d 1120, 1128 (5th Cir. 1983) (emphasis added).

         Agreed as to limited to damages: X
         Granted: ____
         Denied: ____
         Modified as follows: _____________________________________________________
 6.     Defendant’s Limine No. 6: Any reference to or any attempt to offer into evidence any
        document requested by Church Mutual in discovery that was not provided to Church
        Mutual by Plaintiff

        Response: Plaintiff agrees to Defendant’s limine item number 6.

         Agreed: X
 7.     Defendant’s Limine No. 7: Any reference to or any attempt to offer into evidence any
        document or testimony relating to alleged damage to the property made the basis of this
        lawsuit, specifically including alleged interior damage and steeple damage, that was not
        previously provided to Church Mutual by Plaintiff during the course of the adjustment of
        the claim and/or in this litigation.

        Response: Plaintiff agrees to Defendant’s limine item number 7.

         Agreed: X
 8.     Defendant’s Limine No. 8: Any reference to the contents of any document or writing
        which has not been properly authenticated and admitted into evidence. FED. R. EVID.
        901(A); FED. R. EVID. 1002.

        Response: Defendant’s Motion is overbroad, and authentication objections should be

 taken up in the normal course of examination. Humprhie v. State Farm Lloyds, No. 3:20-cv-

 01163-X (N.D. Tex. Aug. 8, 2022) Amended Order on Motions in Limine [Dkt. 72] (Denying

 motion in limine regarding hearsay, holding, “such testimony is better addressed through specific



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 hearsay objections at trial”).    The Motion is so broad it would effectively bar the use of

 demonstratives, expert material, opening arguments, and voir dire discussions.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 9.     Defendant’s Limine No. 9: Any attempt to elicit testimony from Church Mutual regarding
        communications with its lawyers. Such communications are privileged.

        Response: Plaintiff agrees to Defendant’s limine item number 9.

          Agreed: X
 10.    Defendant’s Limine No. 10: Any reference to this Motion in Limine or to any ruling by
        the Court in response to this Motion. Such references are not only irrelevant but inherently
        prejudicial in that they suggest or infer that Church Mutual has sought to exclude proof of
        matters damaging to Church Mutual’s case.

        Response: Plaintiff believes the parties should be allowed to object based on the limine

 rulings and that the language in this motion is overly broad. The jury will not be swayed or

 harmed by hearing the phrase “limine ruling.”

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 11.    Defendant’s Limine No. 11: Any reference or testimony by Plaintiff, any witnesses, or its
        attorneys regarding any previous rulings made by the Court in this case including, but not
        limited to, any mention of the Court’s rulings on any pre-trial motions.

        Response: The motion is overbroad and would prevent discussions of the Court’s rulings

 on items like the jury charge. Plaintiff agrees it will not discuss pretrial rulings on dispositive

 motions or discovery disputes.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________




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 12.       Defendant’s Limine No. 12: Any attempt to request Church Mutual’s attorneys to produce
           documents, stipulate to any facts, or to make any agreement in the presence of the jury

           Response: Plaintiff agrees to Defendant’s limine item number 12.

            Agreed: X
 13.       Defendant’s Limine No. 13: Any attempt to request Church Mutual’s attorneys to
           stipulate to the admissibility of a document in the presence of the jury.

           Response: Plaintiff agrees to Defendant’s limine item number 13.

            Agreed: X
 14.       Defendant’s Limine No. 14: Any reference to Church Mutual’s loss reserves for the
           insurance claim made the basis of Plaintiff’s allegations against Church Mutual in this
           lawsuit.

           Response:     Reserves     are    highly    relevant    in    this    case.    See,    e.g.,

 Hidden Cove Park & Marina v. Lexington Ins. Co., No. 4:17-CV-00193, 2017 U.S. Dist. LEXIS

 86378, at *5 (E.D. Tex. June 6, 2017) (“The Court finds the claim notes regarding

 loss reserve are relevant to Plaintiffs' claims.”); Trinity East Energy, LLC v. St. Paul Surplus Lines

 Ins. Co., NO. 4:11-CV-814-Y, 2013 U.S. Dist. LEXIS 199838, at *6, (N.D. Tex. March 8, 2013)

 (“The Court finds that the loss reserves information is relevant to these issues because it could

 tend to show that [the carrier] knew or should have known that its liability was reasonably clear,

 yet still denied Plaintiffs' claim based on unreasonable reliance upon its expert's report”) (emphasis

 added).

            Granted: ____
            Denied: ____
            Modified as follows: _____________________________________________________
 15.       Defendant’s Limine No. 15: Any testimony Plaintiff has paid insurance premiums for
           several years, since the payment of insurance premiums is not an issue in this case and any
           mention of the payment of insurance premiums by the Plaintiff is designed to have the jury
           decide the case based on prohibited issues such as sympathy, bias, or prejudice.




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         Response: The fact that Plaintiff has dutifully paid its premiums is relevant to the subject

 litigation as to establishing that Plaintiff fulfilled its end of the bargain and the conditions precedent

 under the policy. Furthermore, it establishes a valid contract and duty to indemnify by Defendant.

 There is no prejudice to Defendant in the jury learning that Plaintiff has dutifully paid his premiums

 and fulfilled his end of the bargain under the subject policy. See Hinson v. State Farm Lloyds, No.

 4:20-CV-093-SDJ, 2021 U.S. Dist. LEXIS 125838, at *7 (E.D. Tex. May 5, 2021) (denying same

 motion in limine, finding, “payment of insurance premiums is a requisite element of [insured’s]

 breach-of-contract claim, and thus testimony related to those payments is relevant.”).

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 16.     Defendant’s Limine No. 16: The Court should prohibit any testifying expert retained by
         any party from giving legal opinions regarding coverage under the applicable insurance
         policy or contradicting the Court’s interpretation of the policy’s coverage.

         Response: Plaintiff will not ask an expert to provide legal conclusions, though such

 questions could simply be objected to in the normal course of the trial. Further, Plaintiff and

 experts should be allowed to testify as to each of the elements of his breach of contract claim,

 which will necessarily require him to apply the facts to the lawsuit.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 17.     Defendant’s Limine No. 17: Any statement of the law applicable to this case, including
         (without limitation) any statement or testimony regarding the nature and/or scope of any
         duty imposed by statute or common law, other than that regarding the applicable burden of
         proof. Such statements or testimony constitute an impermissible legal conclusion and
         invade the province of the Court

         Response: The Motion is overly broad and would bar the discussion of the law in voir

 dire, opening, closing, or throughout the trial.



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          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 18.    Defendant’s Limine No. 18: Any comment by Plaintiff’s attorneys that informs the jury
        of the effect of its answers to the questions in the jury charge.

        Response: This limine item is overbroad and would prevent Plaintiff from discussing the

 charge with the jury after the close of evidence.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 19.    Defendant’s Limine No. 19

        Response: Plaintiff agrees to Defendant’s limine item number 19.

          Agreed: X
 20.    Defendant’s Limine No. 20: The calling of any witness or offering of any testimony of a
        witness unless such witness has been previously identified in response to discovery or to
        disclosures and in accordance with the deadlines in the Court’s Scheduling Order and/or
        Pre-Trial Order

        Response: Objections in the normal course of the trial would prevent the calling of any

 ineligible witness. However, this motion is overly broad and would prevent the calling of rebuttal

 witnesses.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 21.    Defendant’s Limine No. 21: Any mention of Church Mutual’s failure to call a witness
        that is equally available to both parties.

        Response: Plaintiff agrees to Defendant’s limine item number 21.

          Agreed: X




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 22.    Defendant’s Limine No. 22: Any evidence or testimony by any expert witness of Plaintiff
        that is outside the scope of the expert’s written reports, or opinions produced during
        discovery or contained in the expert’s Rule 26(a)(2) disclosure

        Response: Objections in the normal course of the trial would prevent testimony outside

 the scope of disclosed opinions.

          Granted: ____
          Denied: ____
          Modified as follows: _____________________________________________________
 23.    Defendant’s Limine No. 23: Any evidence or testimony by any witness asserting that
        Church Mutual’s investigation of the claim was “unreasonable” in light of industry
        practices. Plaintiff has not designated an expert capable of testifying on the issue of
        industry practices for evaluating wind and/or hail damage claims and therefore, cannot
        testify to whether Church Mutual was acting in compliance with industry practice.

        Response: Plaintiff observed Defendant’s sub-par investigation, disregard of clear

 damage, and hail impacts on the roof. An expert is not required to describe Defendant’s

 unreasonable investigation.

        Further, whether Defendant violated its own guidelines, which has been held as potential

 evidence of bad faith, is relevant. As is Defendant’s hiring of an engineer with a lack of objectivity.

 See State Farm Lloyds v. Nicolau, 951 S.W.2d 444, 448 (Tex. 1997) (finding that based on the

 totality of evidence a fact finder could infer engineer reports were not made objectively and that

 an insurer was aware of the lack of the engineer’s objectivity); Allstate Vehicle & Prop. Ins. Co.

 v. Reininger, No. 04-19-00443-CV, 2021 Tex. App. LEXIS 4760, at *23–27 (Tex. App.—San

 Antonio June 16, 2021). Plaintiff has presented voluminous relevant evidence in its Summary

 Judgment Response which the factfinder should also be allowed to hear regarding Defendant’s

 failure to follow its own internal guidelines in the mishandling of this claim. Therefore,

 Defendant’s limine request should be denied.

          Granted: ____




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         Denied: ____
         Modified as follows: _____________________________________________________
 24.    Defendant’s Limine No. 24: Any evidence or testimony by any witness asserting that
        Church Mutual or any of its representatives acted in bad faith as Plaintiff has not designated
        an expert capable of testifying on the issue. The jury is qualified to apply the facts regarding
        the investigation performed, the insurance policy at issue, and the applicable law to
        determine whether Church Mutual acted in good faith

        Response: There is no requirement that an expert be designated to opine on bad faith.

 For the same reasons listed in the response to Defendant’s limine item no. 23, Defendant’s

 Motion should be denied.

         Granted: ____
         Denied: ____
         Modified as follows: _____________________________________________________
 25.    Defendant’s Limine No. 25

        Response: There is no requirement that an expert be designated to opine on coverage.

 For the same reasons listed in the response to Defendant’s limine item no. 23, Defendant’s

 Motion should be denied.

         Granted: ____
         Denied: ____
         Modified as follows: _____________________________________________________
 26.    Defendant’s Limine No. 26: Any opinions of James Maxwell Judge regarding the cause
        of Plaintiff’s property damage because his opinions fail to meet the reliability standards
        required by Rule 702.

        Response: Plaintiff’s well-qualified expert has been repeatedly affirmed as an expert in

 similar cases. For the reasons stated in Plaintiff’s Response to Defendant’s Motion to Exclude

 Judge, this Motion in Limine should be denied.

         Granted: ____
         Denied: ____




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         Modified as follows: _____________________________________________________
 27.    Defendant’s Limine No. 27: Any mention from Plaintiff’s counsel regarding their
        personal opinion about the credibility of any witness.

        Response: Defendant’s Motion is overbroad. Plaintiff should be allowed to describe the

 testimony of witnesses in closing or during cross-examination.

         Granted: ____
         Denied: ____
         Modified as follows: _____________________________________________________
 28.    Defendant’s Limine No. 28: Any reference to the net worth, assets, size, power or other
        indicia of the financial status of Church Mutual, or any similar comment that may draw
        upon the prejudices of the jury toward Church Mutual, including the number of attorneys
        who may be representing Church Mutual in this lawsuit or the law firm retained to defend
        Church Mutual in this action, or characterizing any of Church Mutual’s counsel as being
        from a “defense firm” or similar

        Response: Defendant’s net worth is relevant to the bad faith claims and punitive

 damages sought by Plaintiff in this case. Defendant’s Motion is overbroad and should be denied.

         Granted: ____
         Denied: ____
         Modified as follows: _____________________________________________________
 29.    Defendant’s Limine No. 29: Any comment or reference to Church Mutual as a “foreign”
        business entity, “out-of-state” business entity, or any similar comment that may draw upon
        the prejudices of the jury toward Church Mutual’s state of corporate citizenship

        Response: Defendant’s motion is overly broad in that it does not identify “any similar

 comment,” and the examples given are not prejudicial.

         Granted: ____
         Denied: ____
         Modified as follows: _____________________________________________________




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